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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                 Case No. 18-20685-CR-WILLIAMS

     UNITED STATES OF AMERICA,

            Plaintiff,

     v.

     ABRAHAM EDGARDO ORTEGA,

           Defendant.
     ___________________________________/

            UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

            COMES NOW the DEFENDANT, Abraham Edgardo Ortega, by and through his

     undersigned counsel and moves this Honorable Court to continue the sentencing hearing

     currently scheduled for September 10, 2020, until a date after November 1, 2020. In

     support of the motion, the Defendant states:

     1.     On October 31, 2018, the Defendant pled guilty to a one count Superseding

            Information which charges him with conspiracy to commit money laundering, in

            violation of Title 18, United States Code, Sections 1956(h) and 1957(a).

     2.     The sentencing hearing is scheduled for September 10, 2020.

     3.     Undersigned counsel was hopeful that the situation would improve and allow for

            progress to be made in the matter by September, it is not the case. Moreover,

            undersigned counsel is still very hesitant to come in contact with others and risk

            exposure that could then compromise family members in the home.

     4.     Although there are various criminal hearings that could be accomplished via

            telephonic or video conference, undersigned counsel does not believe it appropriate



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            for a sentencing hearing which is of utmost importance and usually attended by

            numerous family members and individuals showing support or speaking on their

            behalf.

     5.     The Defendant is on bond and electronic monitoring and has been fully compliant

            throughout the pendency of this case and cooperating with the government.

     6.     Undersigned counsel and Assistant United States Attorney Michael Nadler have

            conferred, and the government joins in this continuance and believes that a date

            after November 1, 2020, would be appropriate.

            WHEREFORE, the Defendant, Mr. Ortega, respectfully requests that the

     sentencing hearing in this case be continued to a date after November 1, 2020.

                                          Respectfully submitted,

                                                         /s/Lilly Ann Sanchez
                                                         THE LS LAW FIRM
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                                                         Four Seasons Tower – Suite 1200
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                                                         Miami, Florida 33131
                                                         Telephone: 305-503-5503
                                                         Counsel for Abraham Edgardo Ortega


                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 15, 2020, I electronically filed the foregoing
     document with the Clerk of Court using CM/ECF.
                                                 s/ Lilly Ann Sanchez




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